11/17/2020                            TUESDAY                                               Judge Trish M Brown
11:00    19-33913 tmb 7       bk      Premier Fitness LLC
                                      Objection to claim 1 of ROIC Oregon, LLC Filed by Creditor
                                      Bateman Seidel Miner Blomgren Chellis & Gram, P.C. (HALL,
                                      TRAVIS) (35)
                                      Premier Fitness LLC - db       NICHOLAS J HENDERSON
                                      Bateman Seidel Miner Blomgren         TRAVIS W HALL
                                      Kenneth S Eiler - tr



  Mr. Field appeared for ROIC Oregon, LLC.

  Parties hoping to litigate the matter in bankruptcy court so as to expedite matters in a pending state court
  action.

  Discovery runs through January, and the court will notice out a Zoom trial for March 15, 2021, as well as issue
  an order relating to video trial requirements.




                                                                            Run Date:        11/17/20
                              Case 19-33913-tmb7         Doc 42     Filed 11/17/20
